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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ALABAMA
SOUTHERN DIVISION ,
UNITED STATES OF AMERICA )
. )
v. ) CRIMINAL NO, 18-00146-CG
) ‘
CHRISTOPHER SCOTT CAREY )

PLEA AGREEMENT

The defendant, CHRISTOPHER SCOTT CAREY, represented by his counsel, and the
United States of America have reached a plea agreement in this case, pursuant to Rule 11 of the
Federal Rules of Criminal Procedure, the terms and conditions of which are as follows:

RIGHTS OF THE DEFENDANT

1. The defendant understands his rights as follows:
a, To be represented by an attomey;
b. To plead not guilty;
c. To have a trial by an impartial jury;
d. To confront and cross-examine witnesses and to call witnesses and
produce other evidence in his defense; and
e. To not be compelled to incriminate himself.

WAIVER OF RIGHTS AND PLEA OF GUILTY

2. The defendant waives rights b through e, listed above, and pleads guilty to Count
One of the Indictment, charging a violation of Title 18, United States Code,
Section 875(c), Interstate Threatening Communications.

3. The defendant understands that the statements he makes under oath in the plea of
guilty must be completely truthful and that he can be prosecuted for making false

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statements or perjury, or receive a perjury enhancement at sentencing, for any
false statements he makes intentionally in this plea of guilty.

The defendant expects the Court to rely upon his statements here and his response
to any questions that he may be asked during the guilty plea hearing.

The defendant is not under the influence of alcohol, drugs, or narcotics. He is
certain that he is in full possession of his senses and is mentally competent to
understand this Plea Agreement and the guilty plea hearing which will follow.
The defendant has had the benefit of legal counsel in negotiating this Plea
Agreement. He has discussed the facts of the case with his attorney, and his
attorney has explained to the defendant the essential legal elements of the criminal
charge which has been brought against him. The defendant’s attorney has also
explained to the defendant his understanding of the United States’ evidence and
the law as it relates to the facts of his offense.

The defendant understands that the United States has the burden of proving each
of the legal elements of the criminal charge beyond a reasonable doubt. The
defendant and his counsel have discussed possible defenses to the charge. The
defendant believes that his attorney has represented him faithfully, skillfully, and
diligently, and he is completely satisfied with the legal advice of his attormey.
Defendant recognizes that pleading guilty may have consequences with respect to
immigration status if he is not a citizen of the United States. Under federal law, a
broad range of crimes are removable offenses, including the offense(s) to which

he is pleading guilty. Removal and other immigration consequences are the
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subject of a separate proceeding, however, and the defendant understands that no
one, including his attorney or the district court, can predict to a certainty the effect
of his conviction on his immigration status, Defendant nevertheless affirms that
he wants to plead guilty regardless of any immigration consequences that his plea
may entail, even if the consequence is his automatic remoyal from the United
States.

A separate document, entitled Factual Resume, will be submitted to the Court as
evidence at the guilty plea hearing. The Factual Resume is incorporated by
reference into this Plea Agreement. The defendant and the United States agree
that the Factual Resume is true and correct. Alterations to the Plea Agreement or
Factual Resume initialed only by the defendant and his counsel are not part of this
agreement and are not agreed to by the United States.

This plea of guilty is freely and voluntarily made and is not the result of force,
threats, promises, or representations, apart from those representations set forth in
this Plea Agreement. There have been no promises from anyone as to the
particular sentence that the Court will impose. The defendant is pleading guilty
because he is guilty.

The defendant also knowingly and voluntarily waives all rights, whether asserted
directly or through a representative, to receive from the United States after
sentencing any further records, reports, or documents pertaining to the

investigation or prosecution of this matter, This waiver includes, but is not
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limited to, rights under the Freedom of Information Act and the Privacy Act of
1974.
PENALTY
12. The maximum penalty the Court could impose as to Count One of the Indictment
is:

a. 5 years imprisonment;

b. A fine not to exceed $250,000;

c. A term of supervised release of 3 years, which would follow any term of
imprisonment. If the defendant violates the conditions of supervised
release, he could be imprisoned for the entire term of supervised release;

d, A mandatory special assessment of $100.00; and

@, Such restitution as may be ordered by the Court.

SENTENCING
13. The Court will impose the sentence in this case. The United States Sentencing

Guidelines are advisory and do not bind the Court. The defendant has reviewed

the application of the Guidelines with his attorney and understands that no one

can predict with certainty what the sentencing range will be in this case until after

a pre-sentence investigation has been completed and the Court has ruled on the

results of that investigation. The defendant understands that at sentencing, the

Court may not necessarily sentence the defendant in accordance with the

Guidelines. The defendant understands that he will not be allowed to withdraw

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his guilty plea if the advisory guideline range is higher than expected, or if the
Court departs or varies from the advisory guideline ees

14, The defendant understands that this Plea Agreement does not create any right to
be sentenced in accordance with the Sentencing Guidelines, or below or within
any particular guideline range, and fully understands that determination of the
stiifencing range or guideline level, or the actual sentence imposed, is solely the
discretion of the Court.

15. The United States will provide all relevant sentencing information to the
Probation Office for purposes of the pre-sentence investigation. Relevant
sentencing information includes, but is not limited to, all facts and circumstances
of this case and information concerning the defendant’s conduct and background.

16. Both the defendant and the United States are free to allocute fully at the time of
sentencing,

17. The defendant agrees to tender $100.00 to the U.S. District Court Clerk in
satisfaction of the mandatory special assessment in this case. The United States
reserves the right to withdraw any favorable recommendations it may agree to
within this document if the defendant fails to pay the special assessment prior to
or at the time of his sentencing.

RESTITUTION

18. Pursuant to 18 U.S.C. §§ 3556 and 3663(A), restitution is mandatory. The
defendant agrees to make full restitution as to all relevant conduct regardless of

whether it relates to the count of conviction.

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FORFEITURE
19. The defendant agrees to confess the forfeiture to the United States of all
properties which represent proceeds of his criminal activities or which facilitated
any aspect of these illegal activities.

FINANCIAL OBLIGATIONS

20. The Defendant expressly authorizes the U.S. Attorney’s Office to obtain a credit
report in order to evaluate the Defendant’s ability to satisfy any financial
obligation imposed by the Court. In order to facilitate the collection of financial
obligations fo be imposed in connection with this prosecution, the Defendant
agrees to disclose fully all assets in which the Defendant has any interest or over
which the Defendant exercises control, directly or indirectly, including those held
by a spouse, nominee or other third party.

UNITED STATES’ OBLIGATIONS

21. The United States will not bring any additional charges against the defendant
related to the facts underlying the Indictment and will move to dismiss all
remaining counts once sentence is imposed. This agreement is limited to the
United States Attorney’s Office for the Southern District of Alabama and does not
bind any other federal, state, or local prosecuting authorities.

22. The United States will recommend to the Court that the defendant be sentenced at
the low end of the advisory sentencing guideline range as determined by the

Court.

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LIMITED WAIVER OF RIGHT TO APPEAL AND
WATVER OF COLLATERAL ATTACK

23. As part of the bargained-for exchange represented in this plea agreement, and
subject to the limited exceptions below, the defendant knowingly and voluntarily
waives the right to file any direct appeal or any collateral attack, including a
motion to vacate, set aside, or correct sentence under 28 U.S.C. § 2255.
Accordingly, the defendant will not challenge his guilty plea, conviction, or
sentence in any district court or appellate court proceedings.

a. EXCEPTIONS. The defendant reserves the right to timely
file a direct appeal challenging:
(1) any sentence imposed in excess of the statutory
maximum;
(2) | any sentence which constitutes an upward departure
or variance from the advisory guideline range.
The defendant also reserves the right to claim ineffective assistance of
counsel in a direct appeal or § 2255 motion.

24. Ifthe United States files a notice of appeal and such appeal is authorized by the
Solicitor General, the defendant is released from the appellate waiver.

25. The defendant further reserves the right to timely move the district court for an
amended sentence under 18 U.S.C. § 3582 in the event of a future retroactive
amendment to the Sentencing Guidelines which would affect the sentence.

26. Ifthe defendant receives a sentence within or below the advisory guideline range,

this plea agreement shall serve as the defendant’s express directive to defense

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counsel to timely file a “Notice of Non-Appeal” following sentencing, signed by
the defendant.
VIOLATION OF AGREEMENT

27. The defendant understands that if he breaches any provision of this Plea
Agreement, the United States will be free from any obligations imposed by this
agreement, but all provisions of the agreement remain enforceable against the
defendant, In the exercise of its discretion, the United States will be frec to
prosecute the defendant on any charges of which it has knowledge. In such event,
the defendant agrees not to assert any objections to prosecution that he might have
under the Sixth Amendment and/or Speedy Trial Act,

28. In addition, if the defendant is released from detention prior to sentencing, he
understands that the United States will no longer be bound by this agreement if he
violates any condition of his release prior to sentencing or prior to serving his
sentence after it is imposed.

ENTIRETY OF AGREEMENT

29. This dvcnenen is the complete statement of the agreement between the defendant
and the United States and may not be altered unless done so in writing and signed
by all the parties.

Respectfully submitted,

RICHARD W. MOORE
UNITED STATES ATTORNEY

Date: June 29, 2018 Le

Sinan Kalayoglu
Assistant United States Attorney

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Date: June 29, 2018

Séan P. CAstello ~—
Assistant United States Attorney
Chief, Criminal Division

I have consulted with my counsel and fully understand all my rights with respect to the
offense charged in the Indictment pending against me. I have read this Plea Agreement and
carefully reviewed every part of it with my attorney. I understand this agreement, and I
voluntarily agree to it. I hereby stipulate that the Factual Resume, incorporated herein, is true
and accurate in every respect, and that had the matter proceeded to trial, the United States could

have proved the same beyond a reasonable doubt.

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Christopher Scott Carey
Defendant

I am the attorney for the defendant. I have fully explained his rights to him with respect
to the offense(s) charged in the Indictment in this matter. I have carefully reviewed every part of
this Plea Agreement with him. To my knowledge, his decision to enter into this agreement is an
informed and voluntary one. I have carefully reviewed the Factual Resume, incorporated herein,
with the defendant and to my knowledge, his decision to stipulate to the facts is an informed,

intelligent and voluntary one,

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Latisha V. Colvin
Attomey for Defendant

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ALABAMA
SOUTHERN DIVISION

UNITED STATES OF AMERICA

V. CRIMINAL NO. 18-00146-CG

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CHRISTOPHER SCOTT CAREY
FACTUAL RESUME
The defendant, CHRISTOPHER SCOTT CAREY, admits the allegations of Count One
of the Indictment.

ELEMENTS OF THE OFFENSE

CHRISTOPHER SCOTT CAREY understands that in order to prove a violation of
Title 18, United States Code, Section 875(c), as charged in Count One of the Indictment, the
United States must prove:

First: The defendant knowingly sent a message in interstate commerce
containing a true threat to injure the person of another; and

Second: The defendant sent the message with the intent to communicate a true
threat or with the knowledge that it would be viewed as a true threat.

OFFENSE CONDUCT

The defendant, CHRISTOPHER SCOTT CAREY, admits in open court and under oath
that the following statement is true and correct and constitutes evidence in this case. This
statement of facts is provided solely to assist the Court in determining whether a factual basis
exists for CHRISTOPHER SCOTT CAREY’s plea of guilty. The statement of facts does not
contain each and every fact known to CHRISTOPHER SCOTT CAREY and to the United

States concerning the defendant’s involvement in the charges set forth in the plea agreement.

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Around March 12, 2018, in the Southem District of Alabama and elsewhere,
CHRISTOPHER SCOTT CAREY maaettiay and willfully transmitted in interstate commerce
a communication containing a threat to injure the person of another, He posted threatening
communications on a Facebook group page read by other persons regarding the Hangout Music
Fest in Gulf Shores, Alabama, stating about the festival:

» “I’m bringing an AR 15 so it should be good inside”

e “Extended spaeaaines bro © hope everyone's ready for the fireworks [explosions

emoji]”

e “But what if it’s for real . Got to get that warning out there”

CHRISTOPHER SCOTT CAREY sent the messages with the intent to communicate a
true threat and with the knowledge that they would be viewed as a true threat by readers of the

messages.

AGREED TO AND SIGNED.
Respectfully submitted,
RICHARD W. MOORE
UNITED STATES ATTORNEY

Date: June 29, 2018

Date: June 29, 2018 Pha

Sedn P. Costello ae
Assistant United States Attorney
Chief, Criminal Division

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Date: T/| { [ (

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CLE CF

Christopher Scott Carey
Defendant

Aad Les

Latisha V. Colvin
Attorney for Defendant

